
690 S.E.2d 704 (2010)
In the Matter of M.X.
No. 527P09.
Supreme Court of North Carolina.
January 28, 2010.
Bin Xu, for Bin Xu &amp; Yuecai Meng.
J. Edward Yeager, Jr., Kathleen A. Widelski, Senior Associate Attorney, for Mecklenburg County DSS.
Nita Kay Stanley, for M.X.
Pamela Newell Williams, GAL, Raleigh, for M.X.
The following order has been entered on the motion filed on the 20th of January 2010 by Respondent (Father) to Deny Guardian Ad Litem's Response to Notices of Appeal and Petitions for Discretionary Review:
"Motion Dismissed as Moot by order of the Court in conference this the 28th of January 2010."
